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HUHJBV ~ DC
IN THE UNITED STATES DISTRICT COURT * ‘ .
FoR THE wEsTERN DISTRICT oF TENNESSEE OSAUG|Z H

EASTERN DIVIsIoN 3'{h

 

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EMMA TAYLOR, et al.,
Plaintiffs.
Civ. No. 04-3055-Ma[P

'V'B.

CITY OF MEMPHIS HOUSING
AUTHORITY, et al.,

v-.r`.¢\.d\_d\_/h_d\_¢\_d`.¢~_¢

Defendants.

 

ORDER GRANTING IN PART PLAINTIFFS' MOTION TO
COMPEL ANSWERS TO INTERROGATORIES

 

Before the court is plaintiffs' Motion to Compel Answers to
Interrogatories, filed July 11, 2005 (dkt #19). On July 21, 2005,
defendant LEDIC Management Group filed its response, in which it
attached responses to plaintiffs' interrogatories. On August 11,
2005, the court held a hearing on the motion. Present were the
plaintiffs, pro se, and counsel for all defendants. At the
conclusion of the hearing, the court GRANTED in part plaintiffs'
motion as follows:

Interrogatory nos. 1 and 2: Plaintiffs withdraw these
interrogatories, stating that LEDIC's response to interrogatory no.

8 would be sufficient.

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with Ru!e 58 and/or 79(a) FRCP on "

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Interrogatory nos. 3, 4, 12, 12(a), 13, 17, and 19:

Plaintiffs withdraw these interrogatories.

Interrogatory nos. 5, 7, 9, 11, 15, 16, 18, 20, 21, and 22:

Plaintiffs are satisfied with LEDIC's response, and do not
seek any additional response regarding these interrogatories.

Interrogatory no. 6: The court finds that this interrogatory
seeks information that is not relevant and overly broad. Thus,
LEDIC need not provide any further response to this interrogatory.

Interrogatory no. 8: LEDIC shall provide the dates of
employment for the individuals identified in LEDIC's response to
this interrogatory.

Interrogatory no. 10: LEDIC shall provide HUD related
materials in LEDIC's possession that relate to tenant's
qualifications for subsidies applicable to Raleigh.Woods Apartments
from December 2000 through July 2004.

Interrogatory no. 13(a): LEDIC shall provide eviction policy
for Raleigh Woods Apartments applicable during the period of
December 2000 through July 2004.

Interrogatory no. 14: As set forth in its response, LEDIC
will make available for plaintiffs' review the lease file and other
documents associated with the plaintiffs that are in LEDIC's

possession.

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Plaintiffs' motion for sanctions, including attorney's fees
and expenses, is DENIED.

IT IS SO ORDERED.

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TU M. PHAM
United States Magistrate Judge

/’W$uwvi` \?_‘, mcf

Date

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:04-CV-03055 Was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

